Case 1:04-cv-Ol288-.]DT-STA Document 21 Filed 05/20/05 Page 1 of 2 Page|D 29

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IN THE UNITED STATES DISTRICT COURT 05,§.
THE wEsTERN DISTRICT oF TENNESSEE h -€’,P<., ‘~
EASTERN DIVISION ,j/g, ‘_ 0 ,¢
1>~;3/1~;;\ 19 /5'
TERRETTA wEBB, ) ’5' '; §§ O//~DO
) 4/ ‘90/ 455
Plaintiff, ) Civil Action No.1-04-1288-'1`/An!'FCP§:,{\f
) ` f/’
v. ) JURY DEMAND
)
STANLEY JONES REALTY, INC., ) Judge Todd/Magistrate Anderson
)
Defendant. )

B_D..E_E
Defendant, Stanley Jones Realty, Inc., filed a motion to excuse the late filing of its
Corporate Disclosure Statement together With its Corporate Disclosure Statement.
Defendant represents that Plaintiff has stated she does not oppose the motion and no
prejudice is shown by excusing the late filing. Therefore, the motion is GRANTED and

the late filing of Defenda.nt’s Corporate Disclosure Statement is hereby EXCUSED.

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[S]. S. Distn'ct Court, W. D. Tennessee

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It is so ORDERED.

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DISTRI T OURT -WESTER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 21 in
case 1:04-CV-01288 Was distributed by f`aX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

